Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 1 of 6 PageID #: 189
Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 2 of 6 PageID #: 190
Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 3 of 6 PageID #: 191
Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 4 of 6 PageID #: 192
Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 5 of 6 PageID #: 193
Case 3:11-cr-00037-GMG-DJJ Document 70 Filed 05/14/12 Page 6 of 6 PageID #: 194
